             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:13-cr-00079-MR-DLH-12


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                           ORDER
                                 )
TAIDE ALVARADO VERGARA,          )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment as to the Named Defendant [Doc. 315].

     Upon review of the Government’s motion, and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 315] is GRANTED, and the Bill of Indictment in the above-

captioned case, as it relates to the Defendant Taide Alvarado Vergara only,

is hereby DISMISSED WITHOUT PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

parties, the U.S. Marshals Service, and the U.S. Probation Office.

     IT IS SO ORDERED.         Signed: April 18, 2017




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